   Case 2:07-cr-00168-TS Document 51 Filed 09/12/07 PageID.95 Page 1 of 2




           IN THE UNITED STATES COURT FOR THE DISTRICT OF UTAH
                                  CENTRAL DIVISION




 UNITED STATES OF AMERICA,
        Plaintiff,                                   MEMORANDUM DECISION AND
                                                     ORDER GRANTING MOTION TO
                                                     CONTINUE, VACATING TRIAL
                                                     DATE, SETTING NEW TRIAL
                                                     DATE, AND EXCLUDING TIME


                vs.


 BEATRIZ MARTINEZ,                                   Case No. 2:07-CR-168 TS
        Defendants




       Defendant Beatriz moves to continue trial. The Court having considered the entire

record in this case, the Court finds as follows: Due to the recent developments,

Defendant’s counsel needs additional time to effectively prepare for trial or a plea. If the

Motion to Continue were denied it would deny the Defendant’s counsel the time necessary

for effective preparation for trial or to adequately represent Defendant regarding a plea.

Counsel have exercised due diligence in preparing this case. The ends of justice in

granting a continuance outweigh the best interests of the public and the Defendants in a

speedy trial.

       It is therefore

                                             1
   Case 2:07-cr-00168-TS Document 51 Filed 09/12/07 PageID.96 Page 2 of 2




          ORDERED that Defendant’s Motion to Continue Trial (Docket No. 47) is GRANTED

and the trial date of September 5, 2007, be stricken and the trial continued. It is further

          ORDERED that the time between September 5, 2007, and the next trial date be

excluded from the computation for the time for trial as described in 18 U.S.C. §3161. It is

further

          ORDERED that a three-day jury trial will begin at 8:30 a.m. on

November 14, 2007.

          DATED May 30, 2007.

                                          BY THE COURT:


                                          ___________________________________
                                          TED STEWART
                                          United States District Judge




                                             2
